Case 1:25-cr-20018-FAM Document 15 Entered on FLSD Docket 03/03/2025 Page 1 of 1




                        UN ITED STA TES D ISTRICT COUR T FO R THE
                             SOUTHERN DISTRICT OF FLORIDA
                            C ase N um ber:25-20018-C R -M O R EN O

 UN ITED STA TES OF A M ERJCA ,

               Plaintiff,


 M AR IA JOSE ZA CM     A S SAB A,

               D efendants.


                                O R DER C O N TIN U IN G TRIA L
       THIS CAUSE cam ebeforetheCoul'tupon theUnopposedM otion forContinuanceofTrialby
M ariaJoseZacariasSaba(D.E.14)filed onFebraaa 28,2025.Aftercarefulconsiderationandthe
Coul'thaving been fully advisedintheprernises,itis
       OR D ERED AN D AD JUD G ED thatthe trialis reset from the tw o-w eek period starting on
M arch 10,2025 to the tw o-w eek period com nnencing
                                   A pril7,2025 at9:00 A .M .
beforetheHonorableFedericoA.M oreno,United StatesDistrictJudge,Coudroom 12-2,12thFloor,
United StatesCourthouse,400N .M inm iAvenue,M inmi,Florida.
                 Calendar Callis resetto Tuesday,A pril1,2025 at10:00 A .M .
TheCourtfindsthattheinterestofjusticeservedby grantingacontinuanceto allow counselforthe
defendantsreasonabletim enecessary foreffectivepreparation fortrialoutweighsany interestofthe
publicorthedefendantsinaspeedytrial.TheCourtfindstheperiodofdelay(from 2/28/2025-4/7/25)
excludable in calculating the period within which trialmustcom menceunderthe Speedy TrialAct.
                                                                                      .
see,18u.s.c.section 3161.                                                       .....J..- ..
       D O NE A ND O R D ERE D in M iam i,Dade County,Florida on thi        /7 dayofMarch2025   .

                                                                                           '-
                                                                    '.
                                                                w



                                                                         ERICO A.M OREN O
                                                            TED STATES D ISTRICT JUD GE
       A1lcotm selofrecord
